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  Fill in this information to identify the case:

   Debtor 1   Judith Holmes

   United States Bankruptcy Court for the:         Southern         District of   Florida (Miami)

   Case number:19-25604-RAM




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                            12/16

  If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
  debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
  filing that you assert are recoverable against the debtor or against the debtor's principal residence.
  File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



   Name of creditor:      Nationstar Mortgage LLC d/b/a Mr.                             Court claim no. (if known):   1-1
                          Cooper

Last 4 digits of any number you use to identify
the debtor’s account:          0638
   Does this notice supplement a prior notice of postpetition fees,
   expenses, and charges?


    No
    Yes. Date of the last notice:


   Part 1:    Itemize Postpetition Fees, Expenses, and Charges

   Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
   escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

       Description                                                     Dates incurred                                        Amount

    1. Late charges                                                                                                    (1)   $
    2. Non-sufficient funds (NSF) fees                                                                                 (2)   $
    3. Attorney fees                                                    Objection to Plan, 01/06/20                    (3)   $ 500.00
    4. Filing fees and court costs                                                                                     (4)   $
    5. Bankruptcy/Proof of claim fees                                                                                  (5)   $
    6. Appraisal/Broker’s price opinion fees                                                                           (6)   $
    7. Property inspection fees                                                                                        (7)   $
    8. Tax advances (non-escrow)                                                                                       (8)   $
    9. Insurance advances (non-escrow)                                                                                 (9)   $
   10. Property preservation expenses. Specify:_                                                                      (10)   $
   11. Other. Specify:_                                                                                               (11)   $
   12. Other. Specify:_                                                                                               (12)   $
   13. Other. Specify:_                                                                                               (13)   $
   14. Other. Specify:_                                                                                               (14)   $


   The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
   See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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Debtor 1              Judith                                  Holmes                             Case number (if known) 19-25604-RAM
                      First Name       Middle Name            Last Name




       Part 2:

           The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
           telephone number.
           Check the appropriate box.

              I am the creditor.
           × I am the creditor’s authorized agent.


           I declare under penalty of perjury that the information provided in this claim is true and correct to the best
           of my knowledge, information, and reasonable belief.



                      /s / Ella      Roberts, Esq.                                                 Date     04/30/2020
                     Signature




                                                                                                 Title     Attorney for Secured Creditor
                        First Name               Middle Name              Last Name




       Company
                         Number                      Street



       Address           P.O. Box 23028
                         Tampa                                               FL            33623
                        City                                                          ZIP Code




       Contact phone           813-221-4743                                                      Email:   bkfl@albertellilaw.com
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document to be served upon the
following parties of interest either via pre-paid regular US Mail or via electronic notification to the parties
on the attached service list, this 30th day April, 2020.



        SERVICE LIST

       Judith Holmes
       17720 NW 41 Avenue
       Opa Locka, FL 33055

       Carolina A Lombardi
       Legal Services of Greater Miami, Inc.
       4343 West Flagler Street #100
       Miami, FL 33134

       Nancy K. Neidich
       www.ch13miami.com
       POB 279806
       Miramar, FL 33027

       Office of the US Trustee
       51 S.W. 1st Ave.
       Suite 1204
       Miami, FL 33130
                                                              /s/ Ella Roberts, Esq.
                                                              Ella Roberts, Esq.
                                                              FBN 0075943
                                                              813-221-4743

                                                              Albertelli Law
                                                              Attorney for Secured Creditor
                                                              PO Box 23028
                                                              Tampa, FL 33623
                                                              Facsimile: (813) 221-9171
                                                              bkfl@albertellilaw.com
